      Case 2:13-cr-00106-DOC Document 441 Filed 05/30/19 Page 1 of 3 Page ID #:5323

                                     Office of the Clerk
                    United States Court of Appeals for the Ninth Circuit
                                   Post Office Box 193939
                            San Francisco, California 94119-3939
                                        415-355-8000
Molly C. Dwyer
Clerk of Court                            May 30, 2019


       No.:         19-50176
       D.C. No.: 2:13-cr-00106-DOC-1
       Short Title: USA v. Mongol Nation


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       Failure of the appellant to comply with the time schedule order may result in
       dismissal of the appeal.

       Please read the enclosed materials carefully.
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                   UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                     MAY 30 2019
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                      No. 19-50176

               Plaintiff - Appellee,
                                                D.C. No. 2:13-cr-00106-DOC-1
   v.                                           U.S. District Court for Central
                                                California, Los Angeles
 MONGOL NATION, Unincorporated
 Association,                                   TIME SCHEDULE ORDER

               Defendant - Appellant.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.2. If there were no reported
hearings, the transcript deadlines do not apply.

Wed., June 19, 2019           Transcript shall be ordered.
Fri., July 19, 2019           Transcript shall be filed by court reporter.
Wed., August 28, 2019         Appellant's opening brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.
Fri., September 27, 2019      Appellee's answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.

The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.
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Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                           FOR THE COURT:

                                           MOLLY C. DWYER
                                           CLERK OF COURT

                                           By: Jessica Poblete Dela Cruz
                                           Deputy Clerk
                                           Ninth Circuit Rule 27-7
